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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

  In the Matter of:                         )
                                            )
  GEORGE BAVELIS,                           )             Case No. 0:17-mc-61269-RLR
                                            )
        Debtor.                             )
  ________________________________________ )
                                            )
  GEORGE BAVELIS,                           )
                                            )
        Plaintiff,                          )
  v.                                        )
                                            )
  TED DOUKAS, et al.,                       )
                                            )
        Defendants.                         )
  ___________________________________________/

                NOTICE OF TAKING DEPOSITION IN AID OF EXECUTION

         PLEASE TAKE NOTICE that Plaintiff, George Bavelis, will take the deposition in aid of

  execution of Defendant, Ted Doukas, on Thursday, January 28, 2021 at 10:00 a.m.         The

  deposition shall be conducted remotely as follows:



  VIA ZOOM

  RPRSC is inviting you to a scheduled Zoom meeting.

  Topic: Deposition of Ted Doukas
  Time: Jan 28, 2021 10:00 AM Eastern Time (US and Canada)

  Join Zoom Meeting
  https://zoom.us/j/98469450662

  Meeting ID: 984 6945 0662
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                                                                 CASE NO. 0:17-mc-61269-RLR


  One tap mobile
  +13126266799,,98469450662# US (Chicago)
  +19292056099,,98469450662# US (New York)

  Dial by your location
       +1 312 626 6799 US (Chicago)
       +1 929 205 6099 US (New York)
       +1 301 715 8592 US (Washington D.C)
       +1 346 248 7799 US (Houston)
       +1 669 900 6833 US (San Jose)
       +1 253 215 8782 US (Tacoma)
  Meeting ID: 984 6945 0662
  Find your local number: https://zoom.us/u/avVUgT0e5



         The deposition shall be conducted pursuant to the Federal Rules of Civil Procedure and

  shall continue day to day, excluding weekends and holidays, until completed.

                                      Respectfully submitted,

                                      RICE PUGATCH ROBINSON STORFER & COHEN, PLLC
                                      Attorneys for Plaintiff
                                      101 Northeast Third Avenue, Suite 1800
                                      Fort Lauderdale, Florida 33301
                                      Telephone (954) 462-8000
                                      Facsimile (954) 462-4300

                                      By:     /s/ Shay B. Cohen
                                              RICHARD B. STORFER
                                              Florida Bar No. 984523
                                              rstorfer@rprslaw.com
                                              SHAY B. COHEN
                                              Florida Bar No. 111427
                                              scohen@rprslaw.com




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                                                                                               CASE NO. 0:17-mc-61269-RLR


                                                            CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by

  Email to Paul DeCailly, Esq., DeCailly Law Group, P.A., Post Office Box 490, Indian Rocks

  Beach, Florida 33785 at pdecailly@DLG4ME.com; and Gary A. Goldstein at gary@gagpa.com

  and First Class U.S. Mail to Gary A. Goldstein, 1710 Lands End Road, Manalapan, Florida

  33462; and 111 South Calvert Street, Baltimore, Maryland 21201 this 8th day of January, 2021.


                                                                                    /s/ Shay B. Cohen
                                                                                    SHAY B. COHEN




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